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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HARRISON DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                    No. 3:17-CR-30006

MARK ALAN MOCK                                                                      DEFENDANT

                                    OPINION AND ORDER

         Before the Court is Defendant Mark Alan Mock’s motion (Doc. 26) and incorporated brief

requesting compassionate release in light of the COVID-19 global pandemic or, in the alternative,

a transfer to home confinement. On May 22, 2020, the Court appointed Assistant Federal Public

Defender James Pierce to represent Mock and imposed a deadline of June 29, 20201 to supplement

Mock’s motion. The Government separately obtained Mock’s medical records from the Bureau

of Prisons (“BOP”) and provided those records by email to the Court and Mr. Pierce on May 29,

2020. On July 6, 2020, the Government filed a response (Doc. 35) opposing compassionate

release. The Court has reviewed the final presentence investigation report, the judgment, the

statement of reasons, Mock’s motion, his medical records, and the parties’ respective briefs on this

issue.

         On September 19, 2017, Mock pled guilty to one count of conspiracy to distribute

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846. The statutory penalties

applicable to 21 U.S.C. § 841 called for a maximum term of imprisonment of 20 years and a

minimum term of supervised release of 3 years. 21 U.S.C. § 841(b)(1)(C). The Court used the

United States Sentencing Guidelines in calculating Mock’s sentence based on the offense



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       After conferring with counsel, the Court originally imposed a deadline of June 15, 2020.
However, counsel requested a two-week extension in order to confer with his client to ensure a
comprehensive and thorough supplement, (Doc. 30), which the Court granted.
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conviction and relevant conduct. The guidelines recommended a term of imprisonment of 188 to

235 months and a term of supervised release of 3 years. At sentencing, the Court discussed some

mitigating factors that supported a sentence below the guideline range but recognized that Mock

was responsible for a significant amount of high-purity methamphetamine. The Court sentenced

Mock to a term of imprisonment of 120 months and 3 years of supervised release, citing both

Mock’s history and characteristics and the nature and circumstances of the offense. Mock is

serving his sentence in Bureau of Prisons custody at McDowell FCI in Welch, West Virginia.

According to BOP’s website, Mock’s projected release is in November 2025.

       In light of the COVID-19 pandemic and his own health concerns, Mock moves for early

release from imprisonment or transfer to home confinement pursuant to 18 U.S.C. § 3582(c)(1)(A).

18 U.S.C. § 3582(c)(1)(A)(i) provides that:

       The court may not modify a term of imprisonment once it has been imposed except
       that . . . in any case . . . the court, upon motion of the Director of the Bureau of
       Prisons, or upon motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
       on the defendant's behalf or the lapse of 30 days from the receipt of such a request
       by the warden of the defendant's facility, whichever is earlier, may reduce the term
       of imprisonment . . . after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that . . . extraordinary and compelling
       reasons warrant such a reduction . . . and that such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission . . . .

The statute requires the Court make three threshold findings: (1) that the defendant has exhausted

his or her administrative remedies; (2) that extraordinary and compelling reasons warrant a

reduction; and (3) that the sentencing factors outlined in § 3553(a) support release. Id.

       The Government offers no argument that Mock failed to exhaust his administrative

remedies. In the supplement to his motion, Mock included a letter dated April 14, 2020, from the

McDowell FCI’s Warden denying his request for compassionate release. (Doc. 29, p. 16). Thus,

it appears Mock pursued and exhausted his administrative remedies before filing the instant


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motion.

       With respect to whether “extraordinary and compelling reasons” warrant his release, Mock

points to various medical conditions that he alleges make him particularly susceptible to the

COVID-19 coronavirus. Specifically, Mock has a history of COPD, kidney disease, Hepatitis C,

and achalasia. Mock argues that if he contracts the coronavirus, these health conditions place him

at higher risk of complications and could potentially result in his death. Section 1B1.13 of the

United States Sentencing Guidelines contains a policy statement issued by the United States

Sentencing Commission that describes what circumstances that agency believes constitute

“extraordinary and compelling reasons” that would warrant compassionate release. Application

Note 1 provides that a defendant’s non-terminal medical condition may warrant such release in the

following circumstances:

       (ii)    The defendant is—
               (I)    suffering from a serious physical or medical condition;
               (II)   suffering from a serious functional or cognitive impairment; or
               (III) experiencing deteriorating physical or mental health because of the
               aging process, that substantially diminished the ability of the defendant to
               provide self-care within the environment of a correctional facility and from
               which he or she is not expected to recover.

U.S.S.G. § 1B1.13, Application Note 1 (2018).

       This Court has recognized, as have many other courts around the country, that the

conditions in correctional facilities facilitate rapid transmission of the virus and may make it

extremely difficult, if not impossible, for certain individuals with serious medical conditions to

provide self-care or obtain necessary medical care once they contract the virus. In this case, the

Government concedes that Mock’s medical conditions “could substantially diminish his ability to

provide self-care within the environment of a correctional facility” should he contract COVID-19

and thus constitute an “extraordinary and compelling reason” warranting release. (Doc. 35, p. 7).

Having reviewed the medical records provided by the parties, the Court agrees that Mock has
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serious medical conditions that put him at higher risk of complications were he to contract the

coronavirus. Mock’s serious medical conditions combined with the risks posed to him by the

novel coronavirus constitute “extraordinary and compelling reasons” warranting his release under

18 U.S.C. § 3582(C)(1)(A).

       Though the Government does not oppose Mock’s motion on the first two findings under

§ 3582(c)(1)(A), it does argue that the sentencing factors under 18 U.S.C. § 3553(a) support the

denial of compassionate release. After reviewing the parties’ arguments and the presentence

report, the Court agrees with the Government that the factors warrant the denial of his motion.

       The Court finds the nature and circumstances of this offense troubling. Mock was charged

in a three-count indictment and ultimately pled guilty to one count of conspiracy to distribute

methamphetamine. Law enforcement investigated Mock for approximately a year prior to his

arrest in this case. Prior to that arrest, officials conducted a controlled purchase whereby Mock

sold ¼ gram of methamphetamine to a confidential source. Officials obtained a search warrant for

Mock’s residence that same day and located approximately 155.9 grams of high purity

methamphetamine. Officers also discovered a television in the master bedroom that was wired to

surveillance cameras around the house. Mock was arrested and charged in Newton County,

Arkansas with various drug-related felonies. Mock posted bond a few days later.

       While on bond, Mock continued to distribute methamphetamine. In January 2017, a

confidential source advised law enforcement that a local individual was in the process of obtaining

5 pounds of methamphetamine from a supplier in California and intended to distribute that

methamphetamine to individuals in Newton County, including Mock. On April 7, 2017, officials

conducted another controlled purchase from Mock and a confidential source purchased ¼ gram of

methamphetamine from him.         That methamphetamine was sent to the Drug Enforcement



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Administration laboratory for testing and the results reflected a 97% purity. Officials eventually

arrested Mock on July 21, 2017. As part of that arrest, officials searched his residence and located

vacuum seal bags, several cell phones, drug paraphernalia, seven checkbooks, several laptop

computers, a loaded .22 caliber Taurus firearm, a Fiocchi .22 caliber long rifle, and ammunition.

       The circumstances of the instant offense make clear that Mock had very little, if any,

respect for the law. Though Mock was arrested for selling methamphetamine in 2016, he

continued selling methamphetamine immediately after being released on bond. Mock suggested

he “made a little money” but “was not ‘in it big time.’” (Doc. 20, p. 6, ¶ 24). The facts tend to

suggest otherwise. Mock possessed over 150 grams of high purity methamphetamine when he

was arrested in 2017. In the Court’s experience, this amount of high-quality meth is not indicative

of a small-time drug dealer. Moreover, Mock possessed at various times a television wired with

surveillance cameras, several cell phones, several laptops, and two loaded firearms. In the Court’s

experience, larger, more sophisticated drug dealers have surveillance cameras in their homes and

use multiple cell phones, not small-time dealers. Many of these items appear to have been

purchased after Mock was released on bond in 2016. It appears then that Mock not only intended

to continue selling drugs but took affirmative steps to avoid detection (and even escalated to

purchasing two firearms).

       Mock’s drug-related crimes are not limited to these two instances. According to the final

presentence investigation report, Mock had seven other drug-related charges over a twenty-year

period. His criminal history resulted in 15 criminal history points which placed him in a criminal

history category VI. Mock admitted he resorted to selling methamphetamine to support his own

meth addiction, which began when he was 21 years old. Mock completed in-patient substance

abuse treatment in 1994 and 2002 but admitted he relapsed around 2008. Based on his history of



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substance abuse and his apparent disregard for the law, the Court is not convinced Mock poses so

little risk of recidivism or danger to the public that his motion can easily be granted.

       Though the Court has considered many motions for compassionate release due to the

COVID-19 pandemic, this case presents one of the closer calls. The Court is tasked with weighing

the risks posed by the coronavirus to this defendant (which tend to favor compassionate release)

against the sentencing factors under § 3553(a) (which favor denial of compassionate release).

Mock has been in custody for approximately 3 years. There is little doubt that if COVID-19 were

not a factor in this equation, a sentence of time served would not adequately reflect the seriousness

of his offense, nor would it adequately deter others from committing similar crimes.

       Therefore, after considering the factors under 18 U.S.C. § 3553(a), the Court will deny the

motion. The nature and circumstances of the offense presently outweigh the risks Mock faces

during continued detention. The Government points out that there are no active COVID-19 cases

in McDowell FCI at this time. The Court has independently confirmed this information on BOP’s

website, and it appears as if prison officials at McDowell FCI are taking proactive steps to prevent

the introduction of the virus into the jail. However, as the last few months have made clear, the

circumstances caused by this pandemic can change rapidly. The Court agrees with the parties that

Mock’s health conditions put him at risk and leave him particularly susceptible to COVID-19, so

the Court will deny the motion without prejudice to its refiling. If circumstances at McDowell

FCI change, or if there is a material change to Mock’s health condition, he may file a renewed

motion for compassionate release. Because any forthcoming motion will likely be time-sensitive,

any response must be filed within 7 days of the filing of a renewed motion.

        In the event such a motion must be filed, and if circumstances or material changes indeed

justify the renewed motion, the Court might consider modifying the sentence by imposing an



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extended period of supervised release that includes home detention among its conditions. To

facilitate that consideration, briefing on the propriety of such a modification would be welcome,

particularly with respect to whether any additional conditions could be imposed that might mitigate

the concerns discussed in the Court’s § 3553(a) analysis. If a renewed motion is filed, the parties

are reminded that increasing the term of supervised release would require a new hearing pursuant

to Federal Rule of Criminal Procedure 32.1. Both parties should be prepared to participate in an

emergency hearing, should the Court find one necessary.

       IT IS THEREFORE ORDERED that Defendant’s motion for compassionate release

(Doc. 26) is DENIED WITHOUT PREJUDICE to its refiling.

       IT IS SO ORDERED this 10th day of July, 2020.


                                                            /s/P. K. Holmes, 
                                                            P.K. HOLMES, III
                                                            U.S. DISTRICT JUDGE




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